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                            EXHIBIT 45




                                     Exhibit 45
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                                                                          SFUND RECORDS CTR

                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                1654-93480
                                       REGION IX
                                 75 Hawthorne Street
                             San Francisco, Ca. 94105-3901
                                                       April 1, 1992
Mr. William Duchie
The McColl Site Group                                              SFUND RECORDS CTR
215 East Orangethorpe Avenue                                          88109506
Suite 304
Fullerton, CA 92632
Dear Bill:
     We have received your Summary of Selective Excavation,
Treatment and RCRA Equivalent Closure Approach, dated March 30,
1992. We appreciate receiving this information in such a timely
manner.
     There appears to have been a misunderstanding regarding the
reason for our request. EPA has asked for this summary to detail
the changes that have evolved in your proposal since your
original submittal on February 12, 1991. As we explained to you
on March 5, 1992, we requested this information to help us better
understand how your proposal has changed and to use this document
to supplement our Administrative Record. We apologize if you
interpreted this request to mean that your summary would appear
in the SROA II. Also as we have explained to you in recent
telephone conversations, we have developed a format for the
SROA II which includes the MSG proposal without undertaking
duplicated effort or incurring additional cost while allowing for
a fair and unbiased analysis.
      We also regret any misunderstanding regarding your February
12, 1991 document appearing as a attachment. We will reference
your document both in the executive summary, the main body and in
the appendix, but it will not appear as an attachment. Your
document as well as the SROA II will be available to interested
community members at the Fullerton repository.
      As we indicated in our March 17, 1992 letter, EPA plans to
 evaluate each of the eight alternatives using the NCP 9 criteria
 and we plan to discuss all of the alternatives equally in the
 Proposed Plan.
      If you have any questions feel free to contact me
 (415) 744-2241.
                                           Sine


                                           Pam Wieman, Project Manager
                                           McColl Superfund Site

                                                                       Printed on Recycled Paper



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cc: D.   Jones
    S.   Linder
    G.   Ritter
    C.   Rudolph
    S.   Gaytan
    D.   Bushey
    K.   Ritter
    B.   Brown
    D.   Fraser -*"*
    T.    Patterson
    L.   Goldshmidt
    A.   Knaster
    C.   Burch




                                     Exhibit 45
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